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                                                                                              2020 Jun-09 PM 04:07
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 SUEANN SWANEY,                                        )
                                                       )
         Plaintiff,                                    )
                                                       )
 v.                                                    )   CASE NO. 2:13-CV-00544-RDP
                                                       )
                                                       )
 REGIONS BANK,
                                                       )
         Defendant.                                    )
                                                       )



                       FINAL APPROVAL ORDER AND JUDGMENT

       On June 3, 2020, the court held a Final Settlement Approval Hearing. Consistent with the

Memorandum Opinion entered contemporaneously with this Order, Plaintiff’s Unopposed Motion

for Final Approval of Class Action Settlement (Doc. # 205) is GRANTED, and Plaintiff’s Motion

for Attorneys’ Fees, Costs, and Expenses, and for Service Award to Class Representative (Doc. #

200) is GRANTED IN PART. It is further ORDERED as follows:

       1.      The court RETAINS jurisdiction over the subject matter of this action, as well as

over all claims raised in and all Parties to the action, including the Settlement Class.

       2.      The Settlement Agreement was entered into in good faith following arm’s-length

negotiations with the benefit of a neutral mediator, and is non-collusive.

       3.      The Settlement Agreement is, in all respects, fair, reasonable, and adequate, and is

in the best interests of the Settlement Class; it is therefore APPROVED.

       4.      For purposes of the Settlement Agreement and this Final Judgment only, the

following Settlement Class is CERTIFIED:

               All persons who (a) received a text message from Regions between
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                January 24, 2011 to present, (b) without their prior express consent
                in that the called (i.e. texted) party was not the intended recipient or
                the recipient had previously informed Regions that it had the wrong
                number. Excluded from the Settlement Class are (a) any persons
                who signed a release of Regions related to such conduct in exchange
                for consideration; (b) any officers, directors or employees, or
                immediate family members of the officers, directors or employees
                of Regions or any entity in which Regions has a controlling interest;
                (c) any legal counsel or employee of legal counsel for Regions; and
                (d) the presiding Judge in the Action, as well as the Judge’s staff and
                their immediate family members.

        5.      For settlement purposes, the Settlement Class meets all the requirements of Federal

Rule of Civil Procedure 23(a) and (b)(3).

        6.      Final approval of the Settlement Agreement is GRANTED, including but not

limited to the releases in the Settlement Agreement and the plans for implementation and

distribution of the settlement relief. All Settlement Class Members who have not timely and validly

opted out are bound by the Settlement Agreement and this Final Judgment, including, without

limitation, all releases therein.

        7.      Final approval of the appointment of Plaintiff Sueann Swaney as Representative

Plaintiff is GRANTED. Plaintiff Swaney has fairly and adequately represented the Settlement

Class and will continue to do so.

        8.      Final approval of the appointment of John Allen Yanchunis, Sr. of Morgan &

Morgan Complex Litigation Group as Class Counsel is GRANTED. Class Counsel has adequately

represented the Settlement Class and will continue to do so.

        9.      The Notice Program, as set forth in the Settlement Agreement and effectuated

pursuant to the Preliminary Approval Order, satisfies Rule 23(c)(2). It was the best notice

practicable under the circumstances; was reasonably calculated to provide and did provide due and

sufficient notice to the Settlement Class of the pendency of the Litigation, certification of the



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Settlement Class for settlement purposes only, the existence and terms of the Settlement

Agreement, and of their right to object and to appear at the Final Approval Hearing or to exclude

themselves from the Settlement Class; and satisfied the other requirements of the Federal Rules of

Civil Procedure, the United States Constitution, and other applicable law.

        10.    Regions Bank has fully complied with the notice requirements of the Class Action

Fairness Act of 2005, as codified in 28 U.S.C. § 1715.

        11.    Pursuant to the Settlement Agreement, Defendant has agreed to pay $2,805,200 to

create the Settlement Fund. Amounts awarded to Class Counsel and a Service Award to the Class

Representative will be paid from the Settlement Fund. Class Members who file a valid claim

pursuant to the Settlement Agreement will receive a First Estimated Distribution of approximately

$500.00, or a pro rata share of the Settlement Fund after payment of amounts awarded to Class

Counsel and a Service Award to the Class Representative.

        12.    Any funds remaining in the Settlement Fund after applicable distributions to Class

Members pursuant to the terms of the Settlement Agreement will be distributed by the Settlement

Administrator as directed by the court following submissions from the parties.

        13.    The Parties SHALL effectuate the Settlement Agreement in accordance with its

terms. The Settlement Agreement and every term and provision thereof SHALL be deemed

incorporated herein as if explicitly set forth herein and SHALL have the full force of an Order of

this court.

        14.    All persons who have not objected to the Settlement Agreement in the manner

provided in the Settlement Agreement are deemed to have WAIVED any objections to the

Settlement, including, without limitation, by appeal, collateral attack, or otherwise.

        15.    Those putative Settlement Class Members who have timely and validly elected to



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opt out of the Settlement Class (the “Opt-Out Members”), of which there are only four, are NOT

bound by the Settlement Agreement and this Final Judgment. Those Opt-Out Members are Chelsey

Gray, Joseph W. Sellers, Darrell Battle, and Vincent E. Parker. (Doc. # 205-1). These individuals

SHALL NOT be entitled to any of the benefits afforded to the Settlement Class Members under

the Settlement Agreement.

       16.     Pursuant to Rule 23(h), Class Counsel’s request for attorney’s fees is GRANTED

IN PART. The court AWARDS Class Counsel the sum of $701,300.00 as the Fee Award and

$35,327.51 in costs and expenses. These amounts SHALL be paid in accordance with the terms

of the Settlement Agreement.

       17.     Class Counsel’s request for an incentive award to the Class Representative is

GRANTED IN PART. The court AWARDS $7,500.00 to Class Representative Plaintiff Swaney.

This payment is justified by her service to the Settlement Class. This payment SHALL be paid in

accordance with the Settlement Agreement.

       18.     The Parties to the Settlement Agreement SHALL carry out their respective

obligations thereunder.

       19.     On and after the Effective Date, the Releasing Parties, and each of them, are forever

barred and permanently enjoined from directly, indirectly, representatively, or in any other

capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding against

any of the Released Parties in any jurisdiction based on or relating in any way to the Released

Claims, and the Releasing Parties are forever barred and permanently enjoined from filing,

commencing, or prosecuting any lawsuit individually or as a class action against any of the

Released Parties (including by seeking to amend a pending complaint to include class allegations

or by seeking class certification in a pending action in any jurisdiction) based on or relating in any



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way to the Released Claims.

       20.     Even if Settlement Class Members, including Class Representative Plaintiff

Swaney, may hereafter discover facts in addition to, or different from, those that they now know

or believe to be true with respect to the subject matter of the Released Claims, Representative

Plaintiff Swaney expressly SHALL have, and each other Settlement Class Member SHALL be

deemed to have, and by operation of this Final Judgment SHALL have, upon the Effective Date,

fully, finally, and forever SETTLED and RELEASED any and all Released Claims, including

Unknown Claims related to the subject matter of the Settlement Agreement. The Parties

acknowledge, and Settlement Class Members SHALL be deemed by operation of this Final

Judgment to have ACKNOWLEDGED, that the foregoing waiver is a material element of the

Settlement Agreement of which this release is a part.

       21.     Neither this Final Approval Order and Judgment as to Defendant, nor the

Settlement Agreement, shall be construed or used as an admission or concession by or against

Defendant or any of the Released Parties of any fault, omission, liability, or wrongdoing, or the

validity of any of the Released Claims in any action or proceedings whatsoever. This Final

Approval Order and Judgment is not a finding of the validity or invalidity of any claims in this

Action or a determination of any wrongdoing by Defendant or any of the Released Parties. The

final approval of the Settlement Agreement does not constitute any opinion, position, or

determination of this court, one way or the other, as to the merits of the claims and defenses of

Plaintiff, the Settlement Class Members, or Defendant.

       22.     The Settlement Agreement’s terms SHALL be forever binding on, and SHALL

have res judicata and preclusive effect in, all pending and future lawsuits or other proceedings as

to Released Claims (and other prohibitions set forth in this Final Judgment) that are brought,



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initiated, or maintained by, or on behalf of, any Settlement Class Member who is not an Opt-Out

Member or any other person subject to the provisions of this Final Judgment.

       23.     This action, and the Amended Complaint and all claims therein, are DISMISSED

on the merits WITH PREJUDICE, without award of any fees or costs to any Party except as

expressly provided in this Final Judgment.

       24.     Pursuant to the All Writs Act, 28 U.S.C. § 1651, the court RETAINS the authority

to issue any order necessary to protect its jurisdiction from any action, whether in state or federal

court, and/or to implement this judgment.

       DONE and ORDERED this June 9, 2020.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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